





















Opinion issued April 7, 2011



In The

Court of
Appeals

For The

First District
of Texas

————————————

NO. 01-09-01132-CR &amp;
01-09-01133-CR

———————————

frederick dWAYNE sampson, Appellant

V.

The State of
Texas, Appellee



&nbsp;



&nbsp;

On Appeal from the 339th Criminal District Court 

Harris County, Texas



Trial Court Case Nos. 1161149 &amp; 1161151

&nbsp;



&nbsp;

MEMORANDUM OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant,
Frederick Dwayne Sampson, without an agreed punishment recommendation from the
State, pleaded guilty to the offenses of aggravated sexual assault[1] and aggravated robbery,[2] and the trial court
assessed his punishment for each offense at confinement for seventy-five
years.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant’s
counsel on appeal has filed a brief stating that the record presents no
reversible error and that the appeal is without merit and is frivolous.&nbsp; See
Anders v. California, 368 U.S. 738, 744, 87 S. Ct. 1396, 1400 (1967).&nbsp; The brief meets the requirements of Anders by presenting a professional
evaluation of the record and detailing why there are no arguable grounds for
reversal.&nbsp; Id.; see also High v. State,
573 S.W.2d 807, 810 (Tex. Crim. App. [Panel Op.] 1978).&nbsp; The brief also reflects that counsel
delivered a copy of the brief to appellant and advised appellant of his right
to file a pro se response.&nbsp; See Stafford v. State, 813 S.W.2d 503,
510 (Tex. Crim. App. 1991).&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; When
this court receives an Anders brief
from a defendant’s court-appointed appellant counsel, we conduct a review of
the entire record to determine whether the appeal is frivolous, i.e., whether
it presents any arguable grounds for appeal.&nbsp;
See Anders, 386 U.S. at 744,
S. Ct. at 1400; Stafford, 813 S.W.2d
at 511.&nbsp; An appeal is frivolous when it
does not present any argument that could “conceivably persuade the court.”&nbsp; In re
Schulman, 252 S.W.3d 403, 407 n.12 (Tex. Crim. App. 2008).&nbsp; In our review, we consider the appellant’s
pro se response, if any, to his counsel’s Anders
brief. &nbsp;See Bledsoe v. State, 178 S.W.3d 824, 826–27 (Tex. Crim. App. 2005).&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant
did not file a pro se response with this Court.&nbsp;
Having reviewed the record and counsel’s brief, we agree that the appeal
is frivolous and without merit and that there is no reversible error.&nbsp; See id.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
affirm the judgment of the trial court.&nbsp;
We grant appellate counsel’s motion to withdraw.[3]&nbsp; See
Stephens v. State, 35 S.W.3d 770, 771–72 (Tex. App.—Houston [1st Dist.] 2000, no pet.) (per curiam).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER
CURIAM 

&nbsp;

Panel
consists of Justices Jennings, Higley, and Brown.

Do
not publish. &nbsp;Tex. R. App. P. 47.2(b).

&nbsp;











[1] &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; See
Tex. Penal Code Ann. § 22.021
(Vernon Supp. 2010). 

&nbsp;





[2] &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; See
id. §§ 29.02–.03
(Vernon 2003). 

&nbsp;





[3]
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appointed counsel still has a
duty to inform appellant of the result of this appeal and that he may, on his
own, pursue discretionary review in the Texas Court of Criminal Appeals.&nbsp; See
Bledsoe v. State, 178 S.W.3d 824, 827 (Tex. Crim. App. 2005); Downs v. State, 137 S.W.3d 837, 842 n.2
(Tex. App.—Houston [1st Dist.] 2004, pet. ref’d).&nbsp; 







